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RYAN D. HERRINGTON, MD

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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF OKLAHOMA

WILLIAM RAY SPRAY, JR., and
RHONDA JEAN SPRAY, Individually
and as Personal Representatives
of the Estate of SINDI LUCILLE
SPRAY, Deceased,

Plaintiffs,

BOARD OF COUNTY COMMISSIONERS
OF OKLAHOMA COUNTY, in its
Official Capacity as Governing
Body of the County of Oklahoma
County,

)
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)
VS. ) NO. CIV-20-1252-C
)
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Defendant. )

)

DEPOSITION UPON ORAL EXAMINATION OF
RYAN D. HERRINGTON, M.D.
May 23, 2023

Olympia, Washington
Pages 1 through 140

Reported by Karyn Kirouac, CCR #2471

PLAINTIFF’
EXHIBIT

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clinical practice.

0. Have you ever talked to the Oklahoma Medical
Board about that and what they would do to a doctor --
strike that.

Have you ever talked to the Oklahoma Medical
Board about their position on a physician making a medical

diagnosis without examining the patient?

A. Can you give me the diagnosis that was made.
Q. Any diagnosis.
A. Including on-call physician for patients in

withdrawal and so forth?

QO. As far as making a diagnosis.

A. It can be acceptable under certain
circumstances.

QO. You think that the Oklahoma Medical Board would

accept that?

Re I don't know.

Os And do you have any knowledge of whether or not
a physician's assistant in the state of Oklahoma can make
a medical diagnosis, even attached to the license of a
doctor, without physically seeing the patient?

A. It depends on clinical circumstances and the
diagnosis that is made.

OF Are you aware if the state of Oklahoma will

accept that?

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A.

Q.

accept a nurse practitioner formulating a diagnosis

without ever seeing the patient?

A.

depends on the diagnosis and the patient's condition.

OF

of Oklahoma will accept that. Do you know?

A.

Os

as Exhibit 39, which is a document that I found online
that has your picture and your name, I'm assuming, but I'm

going to ask you have you seen this before?

A.

P.O 6©F fO

Q.

an expert witness, which is correct, is it not?

A.

Or

I den't know.

Are you aware if the state of Oklahoma will

I think it depends on circumstances, and it

So my question asked if you know if the state

i, don"t. knew.

Doctor, I'm going to hand you what I've marked

Yes,

Why don't you just tell us for the record what

This is a profile.

I'm sorry?

This is a profile.

That's online concerning you?
Correct.

It's telling the world that you're available as

Correct.
And this is through SEAK, |S=B-A-K, Imc.; is
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on the list?

QO. Let's see.

MS. REMILLARD: I have a copy here.

Q. (BY MR. SHADID) Tt's in the little book. I
think it's number -- no. I believe it's number 7. I'm
just asking if that's what you were referring to.

A. Yes.

Oi. Okay. On number -- down at line 34, the
documents reviewed, it says Turn Key Case Review. I think
I know which document you're referring to. I'll pull it
up to be sure. It was number 25. Exhibit 25 is labeled
Sentinel Event Review. Is that what you're referring to
as being the Turn Key case review?

A. Yes.

OQ. Okay. I just want to be sure that we're
talking about the same thing, because we will talk about
it a little bit more.

A. Can we do just a quick few minutes?

Q. Sure. sure.

(Recess from 11:57 a.m. to 12:04 p.m.).

Q. (BY MR. SHADID) Doctor, on page 6 of your
report, the top of the page, it still has things that are
listed that you reviewed or at least -- yeah, that says
you reviewed. Line 2 talks about phone call recordings by

Ms. Spray. Were they relevant to your opinion in any way?

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A. Ms. Spray called her grandmother. What I
remember from that is the patients that I have seen that
have actively perforated an ulcer are not comfortable
enough to be on the phone, if that makes sense.

CQ. Were you suggesting that you believe she did
not have a perforated ulcer at that time?

A. No. My belief is that she perforated her ulcer
prior to being booked. That's what my belief is. And
it's an unusual presentation for that diagnosis.

QO. I'm trying to correlate that with you said you
usually don't feel comfortable being on the phone.

A. It's not they're uncomfortable being on the
phone. If you've seen a patient with an acute surgical
abdomen, it's an impressive thing to see clinically, and
the patients are profoundly uncomfortable.

In fact, oftentimes we'll ask them about the
car ride on the way to the hospital: Did the bumps on the
road bother your abdomen?

And so the point I'm trying to make is those
patients are usually very uncomfortable. And when I heard
her voice, it sounded like a conversation that I would
hear for someone who's not at that level of discomfort, is

what I tried to say.

oO. You believe that she was -- that her duodenal

was perforated before she was booked in, but the phone ==

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the conversations you heard were not really consistent
with what you would normally expect in terms of the way
she sounded as far as being in agony or pain?

A. From the surgical -- from an acute surgical
abdomen, yes.

Q'. Now, while we're on that subject, why do you
think that the perforation happened before she was booked
in?

A. The reason I think that is I didn't see a
presentation of an acute surgical abdomen while she was at
Oklahoma Detention Center. I never saw any documentation

that was suggestive of that development.

G.. What you call an acute abdomen?

A. Correct. So that's what I was looking for.
Q. What symptoms would you be looking for?

A. So I'm looking for somebody who's very

uncomfortable, particularly with their abdominal
examination. When you put your hands on these patients
and you press inwards and then you pull your hands away
kind of quickly, that maneuver is enough to irritate the

peritoneum, and the patients complain of pain.

Or. What else would you be looking for?
A. Well, I mean you would take a history first.
Q. For what you call an acute abdomen, you would

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A. Vital signs; you would ask for what medicines

they take.
G. Anything else, Doctor?
A. Medicines, when the pain started, what makes it

better or worse, what you've done for it before, have you
had this before, what operations have you had, are you
passing gas and stool.

There's a whole host of questions you can go
through, but what I'm looking for is somebody that
presents with significant abdominal pain and an
examination that's abnormal. That's kind of what I'm
looking for. And because I didn't see that in Ms. Spray's
file, I don't think she had a surgical abdomen. And then
1,400 -=+

Surgical or acute?

Qi
A. Same. I use the term interchangeably.
Q. You didn't see what?

A.

So I didn't see an acute abdomen presentation

in her file, and that impacted my opinion very
substantially.

And then her postmortem finding of 1,400 MLs, I
saw that as a very large amount of volume of fluid, and
the reference was made to seepage. So I didn't think that

the fluid was leaving the intestinal system quickly. Sol

took the absence of an acute abdomen, and I took this

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a

seepage language that the medical examiner used, and
determined that on a more-likely-than-not basis that 1,400
milliliters had to accumulate slowly over time.

Q. I should have asked you this earlier: You're
not trying to blame the pathologist, right?

A. I'm not a pathologist, but I'm a very good
primary care doctor and a very --

Q. A very good primary care doctor that's not

board certified, correct?

A. No. I'm boarded in preventive medicine in
addition --

OQ. In primary care.

A. I'm not boarded in primary care. So I don't

feel that I was outside the scope of my expertise in
saying wnat I just said.
Qo. On the symptoms that you just referred to

regarding acute abdomen, you said uncomfortable with

abdominal examination. You would do palpations?
A. I would, yes.
oO. That never happened to Sindi Spray, did it?
A. I did not see a provider palpate her abdomen,

that iS ‘cerrect.
O.. Are you able to tell us what the causes of a
duodenal ulcer is?

A. We usually think of infection with a

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rectum, can you take it out. So we don't do that. We
don't do that kind of exam.

Another example might be a patient who's
actively seizing for no reason after hours, and I get a

phone call. I'm not going to delay definitive treatment

so that I can drive to the prison and do an examination.
Q. You're not going to send them to the ER?
A. No, I'm going to send them to the ER.
0; You're not?
A. I would.
Q. You would? That's different.
A. No, that was your question. You asked me if

there was situations where you don't need to do an exam.
And when you can arrive at an appropriate treatment plan
for your patient that's in your patient's best

interests --

Ge Doctor, when you send somebody to the ER,
somebody is doing an exam, are they not?

A. They would do an exam at the ER.

Q.. Correct. I asked you whether there's any
peer-reviewed materials that say that it's okay to not do
an examination.

A. I think you could find something somewhere that
is very consistent with what I just said.

Q. Have you found anything that says it's okay to

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not examine patients?
A. I've never looked, because I've never had to.
Q. And outside of an emergency situation -- when
you have an emergency situation, you send them to the ER,

don't you?

A i do.

0. Nobody sent Sindi Spray to the ER, did they?
A No.

Oe And on December 16th, at least by noon or

thereabouts, she was complaining of severe abdominal pain,
burning, wasn't able to stand up on her own, had to be
dragged back to her bunk, and she had previously had some
up and downs on the heart rate. As you've said, she was
clearly tachycardic. And no doctor ever saw her. That is
true, is it not?

A. No doctor saw her, that's true. I'd like to
ask if you could show me where you saw abdominal pain.

Q. Okay. You're the reviewing expert. You didn't
see that in this chart?

A. I didn't.

Q. Well, let's look -- it's on Exhibit 17. Let's
start there.

MS. REMILLARD: Can you refer to the Bates

number, because I don't have your exhibit.

MR. SHADID: Oh, I'm sorry.

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see a surgical abdomen.

Dee Whether you see a specific thing or not, when
complaints happen should the patient's complaints be
listened to?

A. Yes.

0. And when she told Ginger Vann and Ginger Vann
reported that she was having stomach pain, that she was
having burning in her chest or abdomen, couldn't even

walk, should that have been paid attention to?

A. Yes.
QO. And it wasn't, was it?
A. So the reason I think that the Turn Key folks

and the county, I think that their care of this lady was
not a cause or an explanation for her passing, is that
they recognized that she had opiate withdrawal and they
monitored her for that and they gave her appropriate

treatment for that.

It's unlikely that she would present with a

second problem at the same time that didn't present in the

usual way. So my opinion is that Ms. Spray had two
problems: One that presented in the usual way that was
recognized and monitored and treated; the second one
didn't present in the usual way, and she didn't have a
history of peptic ulcer disease anyway.

So I didn't find evidence that that condition

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which is ultimately what killed her, I didn't find
evidence in my review that there was enough information or
clinical suspicion that would warrant somebody thinking
about that diagnosis.

0. So back to my question: When she complained of
abdominal pain, burning, and not being able to stand up,
and it was reported to nurse Hadden, she didn't do

anything, did she?

A. I don't -- I didn't see that she did anything.

oO. She did not respond to those complaints, did
she?

A. I don't -- I don't remember.

Q. She said: Well, I saw her earlier this morning

and she's fine, something to that effect?

A. That's what I remember.

Q. And then nurse Hadden post-death wrote a chart
entry. Did you see that?

A. I did, but I'd like to see it.

Q. I'll show it to you. On page -- actually it
appears more than once, but on page 75, that's one of the
entries, and it's a few other places. Let's see. To be
more precise, it's on 106.

A. Okay.

Ou It's under the heading of chart notes, which is

why I was asking you earlier what you consider to be the

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Board, then.

A. sure.

Q. Because I'm sure you have no idea how many
doctors I've defended who didn't see patients.

A. Mr. Shadid, I'm very confident in the opinions
I've given in this report.

Q. I understand you're confident. A nurse can't
make a diagnosis, can they?

A. Thc 'sS Correct.

So one thing we might be looking at here is the

standard of care doesn't require that a patient see a
provider right away once they enter the correctional
facility.

Q. Doctor, I have a limited amount of time. I've
got to be out of here in an hour. My question is who made
a working diagnosis?

MR. SHADID: I want this time stamped. Can you

do that?
(The time noted was 1:13 p.m.).
Q. (BY MR. SHADID) Go ahead, Doctor.
A. The working diagnosis for this case would have
been made by the -- I think she was a nurse practitioner

who received a phone call about Ms. Spray the evening of
the 14th of December.

Q. Where are you looking, Doctor?

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A. I am looking on page 9 of my report.

Q. Separate from your report, where in the records
are you referring to where anybody made a diagnosis?

A. Well, I don't think it appears in the chart
yet, because she expired. Had she been seen for her

history and physical, somebody would have diagnosed opioid

withdrawal.
Q. Somebody would have done it, but it hadn't
happened. And you just put down here that she was -- you

said, at line 13 on page 5, that they had every reason to
be confident in their working diagnosis, and I want to
know what that working diagnosis was.

A. So she came in and on her intake screening she
said she took heroin, one and a half grams a day, and she
gets put on a monitoring system.

Q. Got all that. I just want to know who -- don't
fill up the record with other stuff. The question's very
simple. What provider made a working diagnosis of
anything?

A. So it would have been the provider that

answered the phone call the evening of the 14th.

QO. Show me.
A. Well, I don't think she wrote a note on it.
QO. Well, then you don't know that it happened if

she didn't write a note.

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A. No, but on a more-likely-than-not basis, she
did because I've received these exact same phone calls.
I've made the exact same working diagnosis.

0. You're speculating that she did?

A. I don't think I'm speculating. I think it's
more than 50 percent.

Q. You don't see anything in the record where
there is a diagnosis of anything, do you?

Au I would have if she had lived to her medical --

_— _——_—_ —

to her intake physical, history and physical.

@. Let's go back to the question. You don't see
anything in the record that shows that anybody made a
diagnosis, do you?

A. There's no chart note that says diagnosis,

opioid use disorder, opioid withdrawal.

Oy Or anything else, correct?
A. I don't see a note that says that.
Q. Why do you think, as you stated at page 4 of

your opinion, that the theme of the case relates to how

the patients were processed?

A. Where are you now?

QO. On page 4 of your opinion.
A. Of the original report?

Q. Yes, sir.

A. That.'s 36?

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Q. How often are detox checks supposed to happen?
A. It depends on the severity of the withdrawal.
Q. How often should detox checks have happened for

Sind Spray?

A. She had twice a day. And your question is how
often should she have --

O How often should they have them?

A. So I don't think she was under-monitored. I

know that's not exactly your question.

QO. No, my question is how often should it have
happened?
A. You could have ordered twice a day, you could

have ordered three times a day to start, and sort of see

how she trended and adjust accordingly.

Sr fs 129 hours apart okay?
A. That's long.

On Is 22 hours apart okay?
A. That's long.

Q. What about 16 hours?

A. That's lorig..

On If a patient inmate requests medical care, is
it okay for a nurse to refuse it?

A. No.

On Is it okay for a nurse to not complete a set of

vital signs when assessing a patient for presumed opioid

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withdrawal when the complaints now exist -- now include
shortness of breath?

Aes No. There should be a set of vital signs.

Q. When a complaint is made to the director of
nursing regarding an inmate's patient care, is it okay for
the director of nursing to not pass that on to the health
services administrator?

MS. REMILLARD: Object to form.

THE WITNESS: I don't know that a nursing
director would have to pass something on to the health
services administrator. If that's a clinical patient
encounter, I think you treat that as a patient encounter
and take care of your patient.

Q. (BY MR. SHADID) If a staff member complains --
I'm talking about a medical staff member complains to the
director of nursing about something that another staff
member did or did not do pertaining to patient care, is
that something that the DON -- is it okay for the DON to
not pass that on to the health services administrator?

A. I think it depends on what it is.

or If the medical technician is passing out meds
and sees Sindi Spray not being able to walk, and having to
have aid in scooting her back to her bunk, and complaining
of abdominal pain and burning, if she reports it to the

nurse, in this case nurse Hadden, should nurse Hadden

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simply refuse to go see her?

A. You're not allowed to just refuse to see
someone. You're obligated to make sure that that
patient's had an assessment. So depending on
circumstances, the patient may have just had an
assessment, or they may have a -- an assessment scheduled
like in the next few hours. So to answer your question,
you can't just ignore a patient.

Os You didn't see anything -- and I appreciate
that. You didn't see anything for a scheduled assessment
in the next few hours, did you?

A. I did not. But what I was trying to articulate
is that you can't ignore a patient. Your obligation is to
make sure that that patient has been assessed and has a
treatment plan in place.

Q. Did you see the videos of approximately 9:00
a.m. or 9:20 a.m. on December 16th showing that Sindi
Spray was walking to a breathing treatment that morning?

A. The video I remember, and I think this 12s the

one that has been mentioned, I saw where she slid down the

wall.

QO. I'm talking about one before that.

A. I don't remember that one offhand.

OQ. Okay. You saw the one where she slid down the
wall?

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the cell mate Kim Darling gave to local news media?
A. I want to say that I remember pieces of that.

I'm afraid I don't remember much of it.

Q. I just wondered if you reviewed it.

A. I think so. I don't exactly remember.

Q. Did it affect any of your opinions?

A. No.

Q. You noted at page 6 of your report on the
Pottawatomie County Jail that there was no obvious -- or

there was no reference to any obvious pain or any medical
problems at that time on December 12th. That's your
belief, right?

A. That's what I had documented.

Q. On page 7 under the heading of Oklahoma County
Jail, line 8 says December 12, 2018, pre-booking
screening. Where did you get that from, since she wasn't
there on December 12th?

Doctor, I don't know if we have enough time for
you to go through all that. Would you at least
acknowledge she wasn't there on December 12th?

A. She was -- she came on December 13.

Q. Okay. Doctor, on page 8 of your report,
there's an excerpt from the chart that you put there.

A. Page 8, sir?

QO. Yes. Toward the bottom, between the 10 and the

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